       Case 1:21-cr-00341-ELR-JKL Document 1 Filed 09/07/21 Page 1 of 7


              ORIGINAL                                                      FILED SN CHAMBERS
                                                                                  U..S.D.C. Atlanta




                  IN THE UNITED STATES DISTRICT COURT SEP 'I 2021
                 FOR THE NORTHERN DISTRICT OF GEORGIA                           Kevin P. We.mer, C!e)'k
                                                       Bv
                           ATLANTA DIVISION                                        Deoutv C\6r'A




   UNITED STATES OF AMERICA
                                              Criminal Indictment
         V.



   AZIZ CHOUKRI I No-

                                                 i821BCR"034i
THE GRAND JURY CHARGES THAT:

                 COUNTS ONE THROUGH WENT^-SEVEN
                          (Wire Fraud - 18 U.S.C. § 1343,)

   1. On or about June 30, 2016 through on or about December 31, 2018, the

exact dates being unknown to the Grand Jury/ in the Northern District of

Georgia/ the defendant/ AZIZ CHOUKRI/ knowingly devised/ intended to

devise/ and participated in a scheme to defraud A. A., and to obtain money and

property from A.A./ by means of materially false and fraudulent pretenses/

representations/ and promises/ and by the omission of material facts.

                              The Scheme to Defraud

   2. The object of the scheme was for defendant CHOUKRI to unjustly enrich

himself at the expense of A.A. It was a part of the scheme that/ at all tunes

material to the Indictment:

   3. CHOUKRI planned to form/ and then did form, a music production

company called Spiritual Melody.

   4. CHOUKRI befriended A.A./ an elderly man/ and soon after befriending

him/ convinced A.A. to invest in CHOUKRFs music company.

   5. To convince A.A. to invest in CHOUKRFs company/ CHOUKRI
      Case 1:21-cr-00341-ELR-JKL Document 1 Filed 09/07/21 Page 2 of 7




told A.A. that the business posed little financial risk and that A.A. would receive

a five percent commission on his investment/ and if/ at any time/ A. A. wanted to

withdraw his investment/ CHOUKRI would refund the investment/ as well as

pay A.A. an additional one million dollars.

   6. From at least beginning June 30,2016, through at least August 17,2017,

A.A. liquidated his retirement savings and paid CHOUKRI via checks. A.A.

believed that his investment in CHOUKRI's business would be used entirely for

business purposes.

   7. From approximately June 2017 through April 2018, when A.A. s

retirement savings began to dry up/ CHOUKRI convinced A.A. to open credit

cards in A.A. and Spiritual Melody s name because/ CHOUKRI told him/ A.A. s

credit was better than CHOUKRFs and Spiritual Melody needed the credit cards

to continue operating its business.

   8. CHOUKRI missed payments for these credit cards/ however/ and

A.A. s credit declined.

   9. When it became more difficult to use the business credit cards that A.A.

opened for him/ CHOUKRI/ beginning in or about May 2018, through m or

about September 2018, visited A.A. at A.A. s home — often at night and with a

Square payment device — and began charging A.A/s personal credit card to the

Spiritual Melody checking account. CHOUKRI would not leave A.A/s home

until A.A. paid the money/ and A.A. was often scared during these interactions.

CHOUKRI told A.A. that the payments were necessary to fund Spiritual

Melody's business expenses.

   10. While CHOUKRI paid some Spiritual Melody business expenses/ he used
      Case 1:21-cr-00341-ELR-JKL Document 1 Filed 09/07/21 Page 3 of 7




the vast majority of A.A/s money to enrich himself and his children/ by/ for

example/ purchasing lavish meals at restaurants; staying at lavish hotels;

purchasing medical and dental services; paying for his children s tutoring

expenses; and purchasing groceries/ clothes/ and car services.

   11. Eventually/ A.A. became suspicious and began requesting that

CHOUKRI return A.A/s investment money as promised. CHOUKRI told A.A.

that CHOUKRI would pay A.A. all of the money owed him, but CHOUKRI

never did. To stall/ CHOUKRI wrote A.A. checks that/ ultimately/ bounced.

   12. Also during the course of the scheme/ CHOUKRI told A.A. that

CHOUKRI would fix the elderly man's car/ took the car/ and did not return it for

approximately one year. During that time/ CHOUKRI told A.A. that the car was

being repaired; in reality/ however/ CHOUKRI s son was using A.A. s car.

   13. While Choukri lived lavishly off of A.A/s money/ A.A/s financial security

was ruined and his physical and mental health suffered dramatically.

                             Execution of the Scheme

   14. On or about each of the dates set forth below in Column B/ for the purpose

of executing or attempting to execute the scheme to defraud/ with the intent to

defraud/ defendant CHOUKRI caused A.A. to write him checks that he

deposited into his sons and his bank accounts/ and/ in so doing/ caused to be

bransnutted by means of wire communication in interstate and foreign commerce

certain writings/ signs, signals/ and sounds/ as described below m Column D and

Column E for each count:
      Case 1:21-cr-00341-ELR-JKL Document 1 Filed 09/07/21 Page 4 of 7




    A             B                c                 D                  E
  COUNT        DATE OF           CHECK             BANK               CHECK
               DEPOSIT          NUMBER           ACCOUNT            AMOUNT
     1          9/6/16         Check #4274      SunTmst x4433        $50/000.00
     2         9/13/16         Check #4276      SunTrust x4433       $50/000.00
     3         10/3/16         Check #4278      SunTrust x4433       $55/000.00
     4         10/21/16        Check #4279      SunTrust x4433       $55/000.00
     5         11/16/16        Check #4287      SunTrust x4433       $55/000.00
     6         12/22/16        Check #4288      SunTrust x4433       $55/000.00
     7         1/19/17         Check #4292      SunTrust x4433       $30/000.00
     8         1/31/17         Check #4293      SunTrust x4433       $20/000.00
     9         2/22/17         Check #4295      SunTrust x4433       $35/000.00
    10          3/6/17         Check #4297      SunTrust x4433       $35/000.00
    11          3/9/17         Check #4298      SunTrust x9907       $10,000.00
    12         4/21/17         Check #4303      SunTrust x9907       $50/000.00
    13         5/30/17         Check #4305      SunTrust x9907       $1/000.00
    14          6/6/17         Check #4307     SunTrust x9907        $10/000.00
    15         8/19/17         Check #4315     SunTrust x9907        $7/000.00


   15. On or about the date set forth below in Column B/ for the purpose

of executing or attempting to execute the scheme to defraud/ with the intent to

defraud/ defendant CHOUKRI caused A.A. to wire funds into CHOUKRFS son's

bank account/ and/ in so doing/ caused to be transmitted by means of wire

communication in interstate and foreign commerce certain writings/ signs/

signals/ and sounds/ as described below in Column C and Column D:

     A                B                     c                        D
   COUNT        DATE OF WIRE          BANK ACCOUNT             WIRE AMOUNT
     16             3/23/17             SunTrust x4433             $3/000.00


   16. On or about each of the dates set forth below in Column B/ for the purpose

of executing or attempting to execute the scheme to defraud/ with the intent to

defraud, defendant CHOUKRI caused A.A. to charge A.A/s personal credit card

via a Square payment device/ and/ in so doing/ caused to be transmitted by

                                        4
       Case 1:21-cr-00341-ELR-JKL Document 1 Filed 09/07/21 Page 5 of 7




means of wire communication in interstate and foreign commerce certain

writings/ signs/ signals/ and sounds/ as described below in Column B and

Column C for each count:


         A                             B                               c
       COUNT                    DATE OF SQUARE                     AMOUNT
                                 TRANSACTION
          17                          6/8/18                        $2/800.00
          18                          6/11/18                       $2/700.00
          19                          6/12/18                       $1/500.00
          20                          6/13/18                       $1/300.00
          21                          6/28/18                       $1/700.00
          22                          7/1/18                        $1/100.00
          23                          7/2/18                        $3/500.00
          24                          7/9/18                        $1/100.00
          25                          7/11/18                       $2/511.11
          26                          7/12/18                      $1/511.00
          27                          7/17/18                      $1/500.00


All in violation of Title 18, United States Code/ Section 1343.


                           FORFEITURE PROVISION
   17. The allegations contained in Counts One through Twenty-Seven of this

Indictment are hereby re-alleged and incorporated by reference as if fully set

forth herein for the purpose of alleging forfeiture.

   18. Upon conviction of one or more of the offenses alleged in Counts One

through Twenty-Seven of this Indictaient/ the defendant/ AZIZ CHOUKRI/ shall

forfeit to the United States of America/ pursuant to Title 18, United States Code/

Section 981(a)(l)(C) and Title 28, United States Code/ Section 2461 (c)/ any

property/ real or personal/ constituting or derived from proceeds traceable to

said violations/ including/ but not limited to/ the following:
       Case 1:21-cr-00341-ELR-JKL Document 1 Filed 09/07/21 Page 6 of 7




       MONEY JUDGMENT: A sum of money in United States

       currency/ representing the amount of proceeds obtained as a

       result of the offenses alleged in Counts One through Twenty-

       Seven of this Indictment.

   19. If, as a result of any act or omission of the defendant/ any property subject

to forfeiture:

       a. cannot be located upon the exercise of due diligence;

       b. has been transferred or sold to/ or deposited with/ a third party;

       c. has been placed beyond the jurisdiction of the Court;

       d. has been substantially diminished in value; or

       e. has been commingled with other property which cannot be subdivided

          without difficulty;

the United States of America intends/ pursuant to Title 21, United States Code/

Section 853(p)/ as incorporated by Title 28, United States Code/ Section 2461 (c)/ to

seek forfeiture of any other property of said defendant up to the value of the
      Case 1:21-cr-00341-ELR-JKL Document 1 Filed 09/07/21 Page 7 of 7




forfeitable property.


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                                                 FOREPERSON

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                                     7
